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 The following constitutes the ruling of the court and has the force and effect therein described.


 Signed February 7, 2022
                                            United States Bankruptcy Judge
______________________________________________________________________


BTXN 210 (rev. 05/16)
                                      UNITED STATES BANKRUPTCY COURT
                                        NORTHERN DISTRICT OF TEXAS


In Re:                                                      §
Mukki LLC                                                   §    Case No.: 11−32602−hdh7
                                                            §    Chapter No.: 7
                                          Debtor(s)         §


        ORDER DENYING APPLICATION FOR PAYMENT OF UNCLAIMED FUNDS
    The Court finds that APL, Inc. aka American Property Locators, Inc. as assignee of Mygrant Glass Co. filed an
Application for Payment of Unclaimed Funds on 12/20/2021 in the amount of $18,089.83.

      The Court, after review of the application, finds:

     no funds are on record for the claimant
     no documents of proof are provided with the application
     insufficient documentation has been provided with the application
     required Form AO 213 not provided with the application
     the application was not served on the US Attorney
     Other: Supporting documentation is missing: 1) Statement of signing
     agent's (Bishop) authority to act on behalf of Mygrant Glass Co., and 2)
     Photocopy of representative's (Bishop) identification credentials (photo ID
     and business card).


      It is therefore ORDERED that the Application for Payment of Unclaimed Funds is denied without prejudice.

                                                 # # # End of Order # # #
